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            EXHIBIT L
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24 October 2022

George Chebat
Enara Law PLLC
7631 E Greenway Road, Suite B-2
Scottsdale, AZ 85260
Tel: 602-687-2010
email: George@EnaraLaw.com

RE: Valentino Dimitrov Vs. Stavatti Entities re: Investment Repayment: Demand for Repayment on
$1 Million Investor Note

Dear Mr. Chebat,

This letter is in response to the referenced Demand for Repayment on $1 Million Investor Note sent on
10 October 2022 and received by Stavatti registered agents on 13 October 2022.

Stavatti Aerospace Ltd (“Stavatti”) is committed to the repayment of the loan of $1 Million ($1,000,000.00)
provided to Stavatti by Velentino Dimitrov. It is our firm intention to have that loan repaid in-full as soon as
possible within the next 15 to 90 days. Stavatti is immediately endeavoring to secure the additional funds
necessary to repay this loan in full and is committed to its complete and total repayment as soon as pos-
sible. This loan will be repaid through either the retirement of the loan with proceeds secured from our
next fundraising round currently being undertaken and coordinated by DelMorgan & Co and/or alternative
investor, lender or strategic partner or through the earnings associated with new products Stavatti is now
introducing for commercial sale, including but not limited to, Proprietary "Green Foam" Fire Retardant.

The $1 Million loan provided by Mr. Dimitrov as an Angel Investor/Lender was received on 1 March 2022
by Stavatti to serve as “seed capital” for the purpose of paying initial fees associated with DelMorgan &
Co (“DelMorgan”), an investment banking firm engaged by Stavatti. The purpose of the seed capital was
also to address outstanding expenses associated with Stavatti's 2020 acquisition of our headquarters
and prototyping center located at 9400 Porter Road, Niagara Falls, NY as well as to serve as working
capital. The total engagement fee associated with DelMorgan was $100,000 payable in four monthly
installments of $25,000. Stavatti engaged DelMorgan on 21 February 2022 with the first payment being
made to them on 22 February 2022 through prior investor funds not associated with Mr. Dimitrov's loan.
Stavatti made three subsequent payments of $25,000 to DelMorgan on March 23rd, April 22nd and May
23rd. These three payments totaling $75,000 were drawn from the proceeds of the Dimitrov loan.

From the date of engagement, Stavatti coordinated with DelMorgan to develop a comprehensive presen-
tation and package for potential investors, including both a one page “Stavatti Teaser” and a 54 page
“Stavatti Investor Presentation.” While Stavatti's first presentation regarding the SM-29 project as shared
with DelMorgan the morning of 24 December 2021 focused upon the Ukraine Air Force as a launch cus-
tomer, only two days after engaging DelMorgan Ukraine was invaded on 24 February 2022. This inva-
sion led to a fundamental restructuring of the Stavatti business plan and focus whereby the primary
launch customer for the SM-29 upgrade was realigned from Ukraine to India. This decision was made as
it was unclear at the time if Ukraine had any remaining MiG-29s to upgrade as we received information
citing that the majority of the Ukrainian Air Force had been destroyed within the first few days of the war.

Between March and April of 2022 Stavatti worked with DelMorgan to develop a new SM-29 business plan
that was not reliant upon Ukraine Air Force sales for success. This document and its various iterations
was completed, reviewed, approved and ready for presentation to Investors on 22 June 2022. Whereas
Stavatti had expected DelMorgan to have a presentation ready for circulation by 22 March 2022, the war


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NIAGARA FALLS             MAIL STOP              MN TEL: 651-238-5369              WYOMING                MINNESOTA
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Niagara Falls, NY      Niagara Falls, NY     email: aerospace@stavatti.com        Sheridan, WY              Eagan, MN
14304 USA                 14304 USA             http://www.stavatti.com            82801 USA                55121 USA
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in Ukraine and conflicting narratives regarding the availability of MiG-29 aircraft suitable for upgrade
severely impacted how DelMorgan structured their investment offering. While DelMorgan was preparing
the offering documents, between April 20th and May 6th Stavatti submitted “Advisory Opinion” requests
to the State Department-Directorate of Defense Trade Controls (DDTC). Totaling ten submissions of DS-
7786 Advisory Opinion Forms with supporting technical data, Stavatti requested Advisory Opinions
regarding the export suitability of Stavatti aircraft and aircraft upgrades including the SM-27, SM-28, SM-
29 and SM-31 to allied nations including Israel, Japan, Australia, Poland, Ukraine, UAE and Taiwan. On
May 10th I received a phone call from DDTC stating that Stavatti's Advisory Opinions have been
reviewed and we should immediately submit DSP-5 Export License Applications in support of our request
for approval to export Stavatti aircraft to the end-users and nations specified in the Advisory Opinions.

During that same day both Stavatti VP Brian Colvin and myself were in Washington D.C. engaged in
meetings at the Ukrainian Embassy with Major General Borys Kremenetskyi, Defense Attache, Embassy
of Ukraine in the United States of America. These meetings were to coordinate both the potential sale of
items on Stavatti purchase orders from Ukraine (specifically purchase orders 220328-003 and 220328-
004) as well as the upgrade of Ukrainian Air Force MiG-29s and the future potential sale and delivery of
the SM-28 and SM-31. This meeting ultimately resulted in General Kremenetskyi identifying himself as
the party responsible for coordinating US DoD Foreign Military Financing (FMF) for Ukrainian defense
acquisitions with US defense contractors. We also agreed that Stavatti would coordinate FMF with Gen-
eral Kremenetskyi once we received export licenses for our products from the DDTC.

Upon returning from Washington, D.C. I prepared and submitted a DSP-5 export license application for
Stavatti's export of the SM-29 Super Fulcrum upgrade to DDTC. Shortly upon submission I was informed
by DDTC analysts that more technical information was required to process that application, specifically
technical information regarding the SM-29 aircraft with Stavatti Conformal Fuel Tanks (CFTs) presented in
a manner similar to the technical briefings provided by Stavatti for our SM-27, SM-28 and SM-29 aircraft.
This request resulted in a late May to early August combined engineering development and technical writ-
ing effort to produce a technical briefing of the SM-29 upgrade that would enable Stavatti to receive an
export license for this product.

During this entire process, DelMorgan completed their Teaser and Investor Presentation and began pre-
senting these materials to their network of potential investors/investment firms officially on Monday 27
June 2022. Since that date DelMorgan has continued to engage potential investors for the purpose of
securing $35 Million toward our SM-29 upgrade program and overall business plan again involving the
SM-28, SM-29 and SM-31. Each Friday at 2 PM Pacific Time Stavatti has been having a Zoom call with
DelMorgan Managing Directors to remain regularly updated regarding their progress and Stavatti
shareholders/investors are invited to participate in that regular Zoom call to learn the status of our
fundraising initiatives. To that end Stavatti team members, including myself, are meeting with Syed Kazmi
of DelMorgan in a face-to-face meeting this Wednesday the 26th at 10 AM Pacific Time.

On September 9th Stavatti completed preparation of all materials necessary to submit a comprehensive
DSP-5 export license application for the SM-29 Super Fulcrum upgrade to Ukraine. The DSP-5 was sub-
mitted for this project on that date and is currently In-Review with DDTC. This export license application
is for a total contract value of $2.32 Billion in SM-29 Super Fulcrum upgrades. Additionally between Sep-
tember 9th and October 16th Stavatti submitted a total of 7 DSP-5 export license applications for SM-29
or SM-27, SM-28 and SM-31 aircraft to US and NATO allies. These DSP-5 export license applications
have a total combined value of over $9 Billion in orders. Supported by customers who have significant
interest in both Stavatti and the recapitalization of their air force. Stavatti is now waiting to receive our
approved export licenses. Upon receiving approved export licenses for sales to Ukraine, those licenses
will be submitted along with an FMF application to secure FMF funding from the DoD to result in the pro-
duction and delivery of products from Stavatti to Ukraine and of course the generation of cashflow for
Stavatti and a subsequent repayment of outstanding debts as well as the provision of a return to all
Stavatti investors, lenders and shareholders. It is our understanding that DSP-5s are processed within 49
days of submission, however, due to the complexity associated with specific applications there may be
additional delays, especially due to the current war in Ukraine and ever evolving US National Defense
Policy regarding Ukraine

Since receiving the investment from Mr. Dimitrov on March 1st it has been Stavatti's sincere desire and


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intent to repay Mr. Dimitrov in-full and provide his return on investment as rapidly as possible. When
Mr. Colvin presented our investment opportunity to Mr. Dimitrov, it was my understanding that Stavatti VP
Brian Colvin presented to him our SM-29E Super Fulcrum Confidential Private Placement Memorandum
(SM-29 PPM) dated January 2022. I believe Mr. Dimitrov acknowledges that he received and reviewed
the SM-29 PPM as it is included and referenced as Exhibit B in your October 10th letter. At that time,
Stavatti was offering investment opportunities in Stavatti/the SM-29 program, primarily through the SM-29
PPM and it was both the general policy of the company and Stavatti to offer our opportunity only as an
equity investment to qualified and accredited investors through the structure offered by the PPM. While I
did not, and have not yet, had the opportunity to meet with Mr. Dimitrov in person, nor engage in a phone
call, zoom call, text or email exchange with Mr. Dimitrov, it is my understanding that he was familiar with
the SM-29 PPM as well as Stavatti prior to considering any investment or loan to Stavatti. It is also my
understanding that Mr. Dimitrov elected to participate in an alternative “Promissory Note” investment
structure (Exhibit A of the October 10th Letter) which was offered in consideration of the SM-29 program
to serve as seed capital for that program. This Promissory Note structure was considered by Stavatti to
be a deviation from our PPM but due to the Collateral Clause which offers the conversion of the loan to
the ownership of 1 Million shares of Stavatti Preferred Stock, was deemed acceptable but only within the
context of the original PPM which serves as both a business plan and investment disclosure to any
potential lender or investor.

While Stavatti has endeavored to raise additional capital to capitalize our $10 Million SM-29 Business
Plan as rapidly as possible, Stavatti is not in control of the time required to raise equity or debt capital,
especially in the current economic and investment landscape. Per the “Risk Factors” that are clearly out-
lined Beginning on page 84 of the SM-29 PPM, “An investment in Stavatti is speculative and involves a
high degree of financial risk. If you invest in Stavatti, you may loose all of your money as associated with
this investment.” Furthermore it is clearly stated in great detail that there are specific risk factors including
an “Absence of Immediate Revenue” (page 71), “Possible Alternations in the Market for Military and Civil
Aircraft” (Page 72) and “Need for Additional Funding and Funding Risk” (Page 75) that could significantly
impact Stavatti's ability to provide a Return on Investment to any investor or lender. As the SM-29 PPM
was directly connected and related to the investment opportunity presented to Mr. Dimitrov it and it's
clearly presented risk factors applied to the Promissory Note Structure that Mr. Dimitrov invested under.

As noted, Mr. Dimitrov did not invest directly into the SM-29 PPM. Stavatti officially “retired” the SM-29
PPM dated January 2022 and ceased its circulation as an active investment opportunity subsequent to
the engagement of DelMorgan. The DelMorgan Engagement Agreement clearly outlined a 12 month
engagement term with Exclusivity such that “no other advisor is or will be authorized by (the company)
during the term of (the) Agreement to perform services on the Company's behalf of the type described
hereunder.” That being the case, once Stavatti entered into our engagement with DelMorgan, we ceased
working with a wide variety of other potential investors, brokers and fundraisers instead steering them to
DelMorgan or continuing to work with them under a pre-arranged “grandfather” clause with DelMorgan
which enabled Stavatti to continue engaging specific potential investors prior to entering into the agree-
ment with DelMorgan. This included other investment banking firms such as USCGP as well as specific
alternative investors. That said, by the end of June 2022, DelMorgan became our principal investment
banking/equity investment coordinator and our SM-29 PPM dated January 2022 was fully expired.

While Stavatti has continued engaging potential investors, our primary focus has been upon “directing”
any potential investor interested in either our $35 Million or larger $180 Million investment opportunity
directly to DelMorgan to engage in a coordinated presentation and closure through their FINRA registered
services. Simultaneously we have focused heavily upon securing export licenses such that we may
secure both FMF and contract order financing and develop, produce and deliver our chosen products
with or without Investment as introduced and coordinated by DelMorgan.

While we are all very frustrated by the delays and are extremely upset by the amount of time we have
engaged with DelMorgan that has not yet resulted in the funding of our $35 Million investment opportunity,
we have two factors that remain active. The first factor is the 12 month term of the DelMorgan engage-
ment. DelMorgan will continue their efforts until 21 February 2023. The second factor is the pending
DSP-5 export licenses which Stavatti expects will be issued within the coming days or weeks. One holds
the promise of securing the capital for our $35 Million Business Plan while the second provides a mecha-
nism for revenue generation as presented in our January SM-29 PPM. In general our business plan,


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business model, projections and technical materials have not changes and we are staying the course.
Unlike our initial beliefs on February 24th, it is very clear that Ukraine continues to fight the war and their
need for MiG-29 upgrades as well as next generation attack and fighter aircraft in the years to come has
not diminished but only increased. From that standpoint Stavatti is at the right place and time and has
more potential today than we did on February 21st when we entered into the engagement agreement
with DelMorgan.

With respect to additional capital, since the investment by Mr. Dimitrov on March 1st, Stavatti has not
raised any significant capital from which we could provide a repayment of Mr. Dimitrov's loan or a return
on investment. Mr. Dimitrov's role as an “Angel Investor” to Stavatti is extremely appreciated. On 3 Janu-
ary 2022 the Stavatti Aerospace Bank account had a balance of $80,954. By 10 February 2022 that bal-
ance had diminished to $772 due to the payment of business operating expenses. Between 18 Febru-
ary 2022 and 18 March 2022 Stavatti Aerospace raised a total of $1,005,500 which served as our total
investment capitalization for 2022. From this “seed capital” investment Stavatti engaged DelMorgan
($100,000) as well as USCGP ($55,000) and the government relations expertise of T2 Enterprises, LLC
($65,000) to assist in relationships with the DDTC and DoD. Stavatti also Addressed critical outstanding
expenses including those of our Law Firm, Phillips Lytle LLP ($92,000), the Niagara County Industrial
Development Agency (NCIDA) PILOT program for 9400 Porter Road ($129,376), the payment of out-
standing contractor invoices for the renovation and mechanical maintenance/repairs of 9400 Porter Road
($260,000), support for Stavatti Ukraine as well as Ukraine Refugees ($95,449), repayment of Stakehold-
er loan debt ($96,500), Business Credit Card Payments ($53,266.49) for a total of $946,591 in repay-
ment of total outstanding debts that Stavatti Aerospace had incurred prior to 18 March 2022. In short, the
vast majority of Mr. Dimitrov's Angel Investment was applied directly to the engagement of DelMorgan,
the repayment of debts which Stavatti had incurred prior to the investment by Mr. Dimitrov, assistance
provided to Stavatti Ukraine and its staff during wartime conditions and the sustained operations of
Stavatti. Today Stavatti has a remaining balance of $6,100. Stavatti's use of funds is extremely well doc-
umented and the company has current unaudited financial statements available for inspection, along with
all other documents, technical and otherwise, upon stakeholder or shareholder request.

Mr. Dimitrov's investment was supplemented by Stavatti's ongoing revenue stream that is the direct result
of leasing space within 9400 Porter Road, Niagara Falls, NY to tenants. Stavatti leases approximately
20,000 sq ft of 9400 Porter Road to tenants and earned a rental income of $35,200 since 1 January 2022.

Due largely in part from the terms of the exclusive engagement agreement with DelMorgan, Stavatti has
been limited in our ability to raise investment capital beyond the relationship with DelMorgan. Stavatti has
been engaging potential investors within the context of the DelMorgan agreement as well as branching
into alternative investment partnerships, including joint venture opportunities to produce aircraft in allied
nations or working with potential investors who would invest under the terms of the DelMorgan agree-
ment. That said due to the significant time that has elapsed since our engagement with DelMorgan
Stavatti has focused upon identifying alternative sources of investment capital.

To have a clear understanding of Stavatti's present focus, as of today Stavatti has seven DSP-5 Export
License Applications in-review with the State Department Directorate of Defense Trade Controls (DDTC)
for sale of aircraft or aircraft upgrades to two specific allied air force customers. One of these customers
is a committed US Middle East ally and one of the wealthiest nations in the world for their anticipated
acquisition of up to 230 new design, new build Stavatti military aircraft. At an estimated contract value of
$5.858 Billion (not including spare parts, training, maintenance and support materials), these export
licenses reflect the potential sale of Stavatti's revolutionary next generation SM27 Machete, SM-47 Super
Machete and SM-36 Stalma. Designed to defend sovereign airspace through air superiority and the pro-
jection of air dominance, these aircraft will protect both the United States and this specific Middle East
Ally from regional threats posed by Iran, Syria, Radical Terrorists and unexpected threats in decades to
come. Representing more than a sale, this allied nation may further support the development of these
three aircraft as part of a $500 Million Prototype, Demonstration and Validation effort. This effort which is
anticipated to be funded in whole or in part before year end will address outstanding Stavatti liabilities
while capitalizing the development activities necessary for the SM-27, SM-28, SM-36 and SM-47 to be
prototyped, tested and enter production.

Racing to meet the need during a time of unrest with wars both in Europe and on the horizon, the mission


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Stavatti faces is to prototype, test, certify, produce and begin deliveries of these critical aircraft within the
next three years.

In addition to this allied country, that will not be identified for their national security reasons, today, the
United States has depleted roughly one-third of its military stockpile in supporting the war in Ukraine with
Canada and the UK reporting a similar expenditure in resources. It is said that it will take a minimum of
ten years of continuous and intense military systems manufacturing to return America's military capability
to the level it was in December 2021. There is a shortage of capable defense manufacturers with a par-
ticular shortage on companies that can produce highly advanced and sophisticated weapons including
military aircraft. Both Lockheed Martin and Boeing are producing products at their capacity. We have
entered a situation similar to World War II whereby companies that may be capable of producing F-35s
are invited to submit “Capability Statements” to the US Navy to serve as a second production source.
Stavatti is one such company.

What Stavatti is offering to the USA, Canada, the UK and all other US/NATO allies is additional capability
and capacity for the military and the aerospace defense industry. With over 173,000 sq ft of hangar, office
and manufacturing space on a 19.8 acre site at the Niagara Falls International Airport Stavatti is posi-
tioned today to produce our products and support this extraordinary defense need to address a dramatic
shortfall. Expanding that capability, Stavatti is working to acquire the former Bell Aerospace Plant also at
the Niagara Falls International Airport. Stavatti's current business plan is to acquire this historic 1.8 million
sq ft aircraft manufacturing plant for $13 Million to serve as Stavatti's center for military and general avia-
tion mass production. Creating significant defense industry jobs and employing up to 15,000 people over
the next decade, this facility has current rent rolls in excess of $1.2 Million and literally pays for itself from
a business standpoint.

Focused also on Ukraine, Stavatti has purchase orders valued at over $200 Million to support Ukrainian
Ground Forces as well as an opportunity to upgrade a minimum of 76 Ukrainian Air Force MiG-29 Ful-
crums to the SM-29 Super Fulcrum configuration at a contract value of over $2.1 Billion. These opportu-
nities are also pending State Department Export Approval which we anticipate will be awarded prior to the
end of November. Following export approval, Stavatti will work with the Ukrainian Military Attaché at the
Ukraine Embassy to secure US DoD military aid which will ultimately pay for these ground assets and air-
craft upgrades.

Coupled with DelMorgan, Stavatti is engaging additional lenders for launching of the critical SM-100
transport and SM-100AT fire bomber program. Ultimately resulting in an extraordinary transport and
firefighting aircraft, the SM-100 is the only aircraft in its class that can carry a 20 ft SeaLand container or
up to 4,000 gallons of water/fire surfactant. Like most Stavatti aircraft, the SM-100 will be produced in tur-
boprop, electric, hybrid electric, hydrogen and Stavatti's own revolutionary “Alpha Power” technology to
achieve high performance or a truly green, zero emission transport aircraft. Perhaps Stavatti's most
important project, the SM-100AT will battle wildfires more effectively than any aviation asset. Coupled
with a new proprietary “Green Foam” that extinguishes fires with zero toxins and no health danger to
humans, animal or plant life, Stavatti has orchestrated an integrated aerial firefighting solution.

The SM-100 is also part of a development program capital raise that combines the development pro-
grams for the SM-100 with that of the SM-920 commercial airliner. Presented as Stavatti Commercial Air-
craft, Stavatti is working with GEM to structure a share subscription facility which will result in the capital-
ization of the Stavatti Commercial Aircraft Business Plan pending the Initial Public Offering (IPO) of
Stavatti Commercial Aircraft Ltd. In so doing, Stavatti has engaged in a potential mechanism by which the
SM-100 and SM-920 can be fully developed and enter production while Stavatti founding investors and
lenders have a clear pre-IPO and post-IPO exit structure. Stavatti is in the process of negotiating the con-
tract with GEM and securing the estimated $3 Million to $10 Million in capital required to facilitate this IPO
and subsequent program capitalization per the GEM proposal.

To that end, we are engaging additional private equity investors on the $3 Million to $10 Million level as
well as engaging SBA lenders to secure between $5 Million and $7.5 Million in a near-term SBA loan
focused on refinancing existing debt, investing in the renovation of our facility at 9400 Porter Road to
enable the profitable near-term lease of its main hangar and the prototyping and demonstration of the
SM-26 as a “ready for immediate orders” personal sportplane.


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Each of the Stavatti business plans and programs cited above are designed to allow Stavatti to immedi-
ately activate the vendors whose past support has helped position the company for success. While each
program has a different probability for realization and timing, at the top side, as pointed out above, some
are in the final stages of the paperwork to begin, and many will be the result of cultivation of excellent
relationships with the customers.

Stavatti has an extremely clear vision that embraces both a significant long-range strategic plan as well
as an immediate solution for revenue generation. In the very near term, Stavatti is developing new prod-
ucts today for rapid sale and cashflow. Those products range from the “Green Foam” that may be sold in
high volumes to existing aerial firefighting services (Coulson, CalFire, etc.) to our SM-26 Sleek sportplane
which requires $1.5 Million to prototype after which Stavatti can begin accepting purchase orders for this
high performance “Ferrari of the Sky.”

Stavatti is a pioneering company. In addition to our own design aircraft, we are developing our own
advanced powerplants, alloys, avionics, sensors, artificial intelligence, batteries and systems to ensure
that we are independent of non-US sourced components and materials. This focus will ultimately result in
the spin-off of technologies for commercialization throughout many other industries not the least of which
is the consumer marketplace.

Often compared to an Apple Computer, a Boeing, a Lockheed or a new Fairchild or Hughes Aircraft,
Stavatti thanks our current investors and lenders for being on the ground floor of an amazing new compa-
ny that is inspirational, innovative and at the right place at the right time. Now is definitely our time and as
we secure our export licenses, DoD support for both our own programs as well as the funding of our
allied customer acquisitions. Stavatti has a clear and definite pathway to not only secure additional devel-
opment capital for both immediate and long range strategic needs as well as generate revenue and
achieve net cashflow while producing and delivering products that our customers want and need.

Stavatti remains committed to the repayment of the loan from Mr. Dimitrov as soon are funds are avail-
able to do so. Stavatti has “earmarked” over $2 Million of the next tranche of capital secured/raised, be it
$3 Million to $30 Million, to immediately pay-off all outstanding debts, including that of Mr. Dimitrov. While
we are not in direct control of our time-line due to the very nature of fundraising and the review of DSP-5
export licenses, it is our commitment to have Mr. Dimitrov fully repaid within the next 15 to 90 days.

Additionally Stavatti encourages Mr. Dimitrov to consider the Stock Option presented to him in the Prom-
issory Note. In any case, it is Stavatti's desire to work with Mr. Dimitrov and all stakeholders to ensure
that their participation in Stavatti as Angel Investors is ultimately a positive and rewarding experience. We
are at a time of war and Stavatti is working with our investment banking advisors to ensure that we can
meet all of our obligations and fully develop our company and our potential as rapidly as possible within
today's challenging environment.

Best Regards,




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